      Case 1:20-cv-02016-MRS            Document 65       Filed 03/19/25      Page 1 of 10




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AMENTUM ENVIRONMENT & ENERGY,
 INC.,

                        Plaintiff,
                                                    Case No. 20-2016 C
                v.
                                                    Judge Silfen
 THE UNITED STATES OF AMERICA,

                        Defendant.


                PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION
                      TO MODIFY THE SCHEDULING ORDER

       The Court should reject the government’s motion to modify the scheduling order in the

manner requested. Seeking to extend the schedule in this case for the seventh time, the

government refuses to acknowledge its responsibility for the delays that have led it to request

this extension. Moreover, it refuses to commit to meeting the very deadlines it now asks the

Court to impose. Given the government’s record of delay and the prejudice to plaintiff caused

by allowing that delay to continue, the Court should not grant the relief the government now

seeks. Instead, the Court should implement the limitations suggested below by plaintiff

Amentum Environment & Energy, Inc., formerly known as URS Energy & Construction, Inc.

(“URS”), which are necessary to ensure the completion of fact discovery.

                                     FACTUAL BACKGROUND

       The government’s motion—seeking this Court’s permission to again extend discovery in

this case—is riddled with half-truths and convenient omissions about its own dilatory conduct.




                                                1
      Case 1:20-cv-02016-MRS           Document 65        Filed 03/19/25      Page 2 of 10




       A. Delay by the Government in Document Discovery

       The government’s single mention of its “own previous delays in collecting and producing

documents,” Gov’t Mot. at 2, 1 attempts to gloss over the significant impact to the case schedule

caused by its failure to produce documents in a timely manner. URS filed its Complaint in

December 2020, seeking over $300 million of unpaid costs it incurred in cleaning up the

Separations Process Research Unit (“SPRU”) site at the Knolls Atomic Power Laboratory

(“KAPL”) in Niskayuna, New York from 2011 to 2019. ECF. No. 1.

       Fact discovery began in July 2021, and document production commenced in May 2022.

ECF No. 35. The scheduling order in effect at that time required substantial completion of

document production on or before September 30, 2022. ECF No. 23. URS met this deadline.

ECF No. 24. The government did not. Id. Although it represented at that time that it would

substantially complete production by the end of October 2022, id., the government subsequently

acknowledged both substantive and technological deficiencies in its prior productions, ECF Nos.

25, 26. The government continued to struggle to timely collect and produce documents for much

of the next year. See ECF No. 32. At a status conference on October 17, 2023, the government

represented it would be able to complete its production by January 10, 2024, and “[b]oth parties

acknowledged that these dates would not be extended absent extraordinary circumstances and a

showing of good cause.” ECF No. 35. Based on those representations, the Court set January 10,

2024, as the deadline for the completion of document production by the government. Id.

       The government, again, failed to live up to its commitments. In the parties’ November

2023 status report, the government began moving the goalposts, representing to the Court (and


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       Citations to “Gov’t Mot.” are to Defendant’s Motion to Modify the Scheduling Order
(ECF No. 64). Citations to exhibits identified with letters A through E are to the exhibits filed
therewith (ECF Nos. 64-1 to 64-5). Citations to exhibits identified by letters F though H are to
the exhibits filed with this opposition.
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      Case 1:20-cv-02016-MRS           Document 65        Filed 03/19/25     Page 3 of 10




URS) that it would complete production by the Court-ordered deadline “minus documents

withheld on the basis of potential privilege.” ECF No. 39. This carve out was not discussed

prior to the entry of the Court’s order, 2 and the government did not inform the Court (or URS)

that the volume of “initially screened privilege withholdings w[as] considerable, totaling around

two million documents.” ECF No. 44 at 1. The government did not complete, or substantially

complete, its document productions by the Court’s January 10, 2024, deadline. ECF No. 41.

Rather, in the period following that deadline—between January 16 and April 15, 2024—the

government produced “approximately 1.3 million documents (or approximately 9.5 million

pages).” ECF No. 44 at 2.

       After the court extended the deadline for the completion of the government’s production

two more times, ECF Nos. 45, 50, the government finally completed document production on

July 26, 2024—nearly two years after the initial deadline set by this Court. ECF No. 52.

Moreover, the government produced over 8.4 million documents, the vast majority of which it

did not review before production, which had the effect of shifting the burden for identifying

relevant documents in the government’s productions onto URS. See ECF No. 44 at 5-6.

       B. Delay by the Government in Deposition Scheduling

       The government’s account of the history of deposition scheduling in this case is

misleading or worse. The three examples on which the government relies do not support the

schedule extension the government seeks; rather, the government’s conduct demonstrates that it




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         ECF No. 44 at p. 5 (“[A]lthough it is correct that after the Discovery Scheduling Order
had been entered by the Court on October 18, 2023, the Government informed URS that it would
not complete production of all responsive Government documents that it had initially withheld
for potential privilege by the January 10, 2024 deadline (and the parties informed the Court of
this in the November and December joint status reports), this was not communicated to URS or
the Court prior to the entry of the Discovery Scheduling Order.”).
                                                3
       Case 1:20-cv-02016-MRS           Document 65        Filed 03/19/25      Page 4 of 10




had no intention of complying with the deadline set by this Court for the completion of fact

discovery.

       First, the government says in its motion: “Although defendant noticed the URS 30(b)(6)

deposition on September 20, 2024, the first time plaintiff proposed a date was on January 30,

2025—over four months after the initial notice.” Gov’t Mot. at 4. While it is true that URS did

not propose a date earlier, URS informed the government on September 6, 2024 that one of

URS’s 30(b)(6) designees would be on medical leave from late October 2024 through mid-

February 2025. 3 It should not, therefore, have come as a surprise to the government that URS

proposed to hold this deposition the week of March 10, with approximately six weeks of advance

notice. In response, the government did not propose another time within the operative fact

discovery window, offering instead, on February 11, to take the deposition during the week of

March 24. Ex. E at 12. At no point did the government provide an explanation for its

unavailability during the final week of fact discovery in this case, and—even more puzzling

considering the government’s prior representations of unavailability—on February 21, the

government served a subpoena on a previously undisclosed non-party witness for a deposition to

occur on March 13 (i.e., the same week that URS had offered for the URS 30(b)(6) deposition),

see Ex. E at 8.

       Second, the government complains that it has not received proposed dates for certain

other URS witnesses, using Mr. Gavin as an example. Gov’t Mot. at 4, 5. Mr. Gavin’s case

shows just the opposite. On January 30, URS proposed holding Mr. Gavin’s deposition on

February 19 or 20. Ex. E at 15. In response, on February 3, the government stated that it could



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        To avoid disclosing personal medical information, URS has not attached this email as an
exhibit to this opposition but can provide that email under seal if it would be helpful to the Court
in ruling on this motion.
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      Case 1:20-cv-02016-MRS           Document 65        Filed 03/19/25      Page 5 of 10




not conduct the deposition on a date that overlapped with another witness—even though four

DOJ lawyers have taken or defended depositions in this case—and requested dates “later in

March”—i.e., after the close of fact discovery. Id. at 14. The government’s complaint that “20-

days’ notice would not be sufficient time to prepare” for a single fact witness deposition, Gov’t

Mot. at 5, is simply unreasonable, and, in any event, there is no reason that the government could

not have begun preparing for Mr. Gavin’s deposition before its date was confirmed. On

February 5, and in the weeks that followed, URS repeatedly sought alternative dates, asking

whether the government had availability during the week of March 10 to take Mr. Gavin’s

deposition. Ex. E at 13, 10-11, 8, 6. After nearly a month of non-answers, the government

responded on March 3 by proposing March 25 for Mr. Gavin’s deposition—again, after the close

of fact discovery. Id. at 5. It would, therefore, have been futile for URS to seek to confirm dates

for the depositions of other witnesses during the operative fact discovery window when the

government had told URS, and showed through its conduct, that it was unavailable.

       Third, the government suggests that it has “proposed deposition dates for all three …

outstanding depositions” of its own witnesses, purporting to identify proposals it has made for

dates for the Naval Reactors 30(b)(6) (“NR 30(b)(6)”), Ms. Tate, and Mr. Cochran. Gov’t Mot.

at 5. That is not the case. As to the NR 30(b)(6), on January 30, URS proposed holding the

deposition during the week of March 3. The government replied on February 3—without

explanation—that NR was not available until the week of March 17 (again, after the close of fact

discovery). Ex. E at 14. Nonetheless, URS followed up to request availability that week and

agreed to take the deposition on any date that worked for the government. Id. at 11. On

February 12, however, the government clawed back a significant document relevant to Naval

Reactors. Id. at 8. URS thereafter requested timely resolution of the clawback issue to avoid



                                                 5
       Case 1:20-cv-02016-MRS           Document 65         Filed 03/19/25      Page 6 of 10




needing to take the NR 30(b)(6) twice. Id. URS followed up repeatedly seeking the basis for

this clawback so that it could present the issue to this Court, id. at 8, 5-6, 4, but the government

did not provide a basis for the clawback until March 10. Id. at 2. 4 In the meantime, the

government unilaterally and without explanation attempted to further delay the Naval Reactors

30(b)(6). Compare id. at 6 with id. at 5.

       As to both Ms. Tate and Mr. Cochran, the government says it “proposed a number of

dates in March.” Gov’t Mot. at 5. In fact, the government has never provided a proposed date

for either witness. For Ms. Tate, on February 25 the government provided a list of dates when

Ms. Tate was unavailable, without confirming her availability on any other date. Ex. E at 7.

Shortly thereafter, on February 27, URS proposed a date not among those listed as unavailable.

Id. at 6. The government has not, in the weeks since that request, confirmed that date, or

proposed an alternative. Id. at 5, 4; Ex. F at 3, 2, 1. Similarly, for Mr. Cochran, the

government—on March 3—provided dates of Mr. Cochran’s unavailability over the next two

weeks, along with a unilateral assertion that the deposition would be virtual. Ex. E at 5. When

URS asked the government to confirm Mr. Cochran’s location in order to determine whether it

would consent to proceeding virtually, id. at 4, the government ignored the inquiry and did not

provide further information regarding Mr. Cochran’s availability, id. at 1-3; Ex. F at 1.

       C. The Government’s Request for a Schedule Extension

       The government next omits key information regarding the relief it seeks and URS’s

position on this motion. The government writes, “Plaintiff … opposes this request, unless we



4
       The government’s explanations for the clawbacks, id. at 2, did not engage with the points
made by URS weeks earlier, id. at 5-6. In an effort to avoid burdening the Court with
unnecessary motions, URS followed up with the government, Ex. F at 2, and—in light of the
government’s refusal to engage, id. at 1—will promptly move this court for an order compelling
disclosure of these non-privileged documents.
                                                  6
      Case 1:20-cv-02016-MRS            Document 65        Filed 03/19/25      Page 7 of 10




agree not to seek any further extension for any reason, except on the basis of unforeseen,

extraordinary circumstances.” Gov’t Mot. at 1. In fact, the parties discussed the government’s

request for an extension at length over the course of six weeks and reached an agreement on the

terms for a joint request, only for the government to renege on that agreement. See Ex. G.

       URS has been reasonable in its efforts to accommodate the government’s ever-changing

requests and justifications. After the government requested an extension sub silentio in an email

to URS on February 3, Ex. E at 14, URS followed up seeking clarity regarding that request and

confirmed that it would be amenable to a relatively short extension, id. at 13. In response, on

February 11, the government requested an 8-week extension to take 6 depositions. Id at 12. As

recounted above—despite URS’s best efforts to seek government availability during the

operative fact discovery period—the government thereafter refused to provide any availability

for its witnesses or its attorneys for weeks on end, resulting in no further depositions being

scheduled. See supra, p. 3-6. Then, for the first time on March 10, the government requested a

12-week extension of fact discovery—four weeks more than it had previously requested. See Ex.

G at 11-12.

       On March 10 and 11, URS made multiple offers seeking to address the government’s

concerns without unduly prolonging fact discovery in this case. URS proposed extensions of

three weeks or six weeks (or more) to the deadline for the close of fact discovery while seeking

to maintain the same date for the close of expert discovery. Ex. G at 12, 11. The government

refused, insisting that it could not complete fact discovery in fewer than 10 weeks and that all

subsequent dates should be adjusted accordingly. Id. at 10. Trying to achieve compromise via a

different avenue, URS proposed that it would agree to the 10-week extension to all deadlines

requested by the government on the condition that the following language be included in the



                                                 7
      Case 1:20-cv-02016-MRS            Document 65        Filed 03/19/25      Page 8 of 10




parties’ Joint Motion (without the bracketed language) along with a request that the Court also

include it in the revised scheduling order (with the bracketed language): “Neither party will

seek[, and this Court will not grant,] any further extensions to the below schedule for any reason,

except on the basis of unforeseen, extraordinary circumstances, and in such circumstances the

extension will be no greater than strictly necessary to allow for those circumstances to be

addressed.” Id. at 9-10. The government agreed, adding additional language regarding proposed

deposition dates, id. at 9, which URS accepted, id. at 8-9.

       On the morning of March 12, URS sent the government a draft Joint Motion

memorializing the agreement the parties had reached on March 11. Id. at 7-8. The government

did not respond for over a day, and then responded with “edits” that entirely undermined the

agreement between the parties to seek no further extensions absent unforeseen, extraordinary

circumstances. Id. at 5; Ex. H at 1. URS rejected the government’s watered-down language, see

Ex. G at 5, 4, but the government refused to honor the terms of the agreement that it had

confirmed in writing only two days prior. Id. at 2 (“When I sent the draft motion to my reviewer,

my reviewer said we absolutely cannot agree to that particular language. I cannot file anything

without my reviewer agreeing.”). Thereafter, the government filed the instant motion.

                                   APPROPRIATE RELIEF

       Because of the repeated discovery delays caused by the government, certain depositions

remain outstanding. Each week that fact discovery is delayed, however, causes further prejudice

to URS, which is seeking payment for work it already completed and of which the government

has already received the benefit. URS therefore suggests that the Court order that the close of

fact discovery be extended six weeks and adopt the language previously agreed to by the parties,

ordering that “Neither party will seek, and this Court will not grant, any further extensions to the

below schedule for any reason, except on the basis of unforeseen, extraordinary circumstances,
                                                 8
      Case 1:20-cv-02016-MRS            Document 65        Filed 03/19/25     Page 9 of 10




and in such circumstances the extension will be no greater than strictly necessary to allow for

those circumstances to be addressed.” That would result in the following schedule:

                                Event                                          Deadline
Close of fact discovery                                                      April 25, 2025

Joint status report due that updates the court on a first settlement          May 9, 2025
discussion

Exchange of expert reports                                                   June 20, 2025

Exchange of rebuttal expert reports                                         August 15, 2025

Close of expert discovery                                                   October 10, 2025

Joint status report due that (1) updates the court on a second              October 24, 2025
settlement discussion, and (2) proposes a schedule for further
proceedings. The dispositive-motion briefing schedule shall
include four deadlines: (1) URS’s affirmative motion; (2) the
government’s cross-motion and response; (3) URS’s response and
reply; and (4) the government’s reply.


The parties would continue to jointly submit a status report on the every-30-day schedule

through the close of expert discovery, the last one due on November 21, 2025.




                                                  9
     Case 1:20-cv-02016-MRS   Document 65    Filed 03/19/25    Page 10 of 10




Respectfully submitted,
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                                     10
